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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

i\/HCHAEL ARVEY Case No. 1:18-0\!-00185
Plaintiff, HON. PAUL L. MALONEY
V.

SANDRA LYNN FIELSTRA; and FRUITPORT
COMMUNITY SCHOOLS; and ROBERT
SZYMONIAK; and ROBERT ROGERS; and
LAUREN CHESNEY; and PROFESSIONAL
EDUCATIONAL SERVICES GROUP, LLC,

a Michigan Limited Liability Company,

 

Defendants.
/

JOSeph S. Bush (P55823) Mark 'I`. Ostrowski (P49761)
Bush Law Ofi`lces, PLLC Bogomir Rajsic, 111 (P79191)
Attorney for Plaintiff Jessica M. Stark (P80647)
318 Houston Avenue, Ste. 105 Kluezynsl<i, Girtz & Vogelzang
Muskegon, I\/liehigan 49441 Al‘tys for Defs Fruitport CS, Szymoniak,
(231) 760-4490 Rogers, and Chesney
joe@bnshlawofiices.net 5005 Cascade Rd., S.E., Suite A

Grand Rapids, MI 49546
(616) 459-0556 /Fax (616) 459-5829

/
VERIFIED PETITION TO EXTEND TIME FOR SERVICE OF PROCESS AS '].`O

DEFENDANT PROFESSIONAL EDUCATIONAL SERVICES GROUP, LLC
AND T() ALLOVV FILING OF FIRST AMENDED COMPLAINT
NOW COMES PLAINTIFF, l\/IICHAEL ARVEY, and brings the above-titled petition,

verified by counsel and says:

1. Plaintifi’ s lawsuit Was filed on February 20, 2018, a day before the statute of
limitations expired on his elaims.
2. Plaintiff’ s eounsel attempted Service upon Defendant, Professional Edueational

Services Group, LLC, (PES G) via certified mail, restricted but made an error in service

 

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and failed to check the restricted box on the green postal card limiting the signature to the
Resident Agent for said Def`endant only.

3. Upon information and belief`, a representative of PESG, signed for receipt of the
certified mailing of the summons and complaint at the corporate office on February 23,
2018, and upon return to Plaintifi” s counsel, a proof of service Was filed Witli the Court
by Plaintiff"s counsel on February 28, 2018.

4. Plaintiff’s counsel, errantly assumed service Was valid and proceeded With the
matter. See ECF No. 5.

5. Plaintiff’s counsel then requested a default judgment against Prof`essional
Educational Services Group, LLC, f`rorn the clerk of the court on March 29, 2018. See
ECF No. 14.

6. The clerk of the court entered a default and the proof of service of same on March
30, 2018. See ECF No. 15 &16.

7. On or about April 5 , 2018, PESG mailed Plaintiff’ s counsel a notice of change of
address, Which Was already the address used by Plaintiff for defectively serving
Defendant, verifying that PESG had received the summons and complaint at its corporate
office and had added Plaintiff" s counsel to their mailing list, as PlaintiH s counsel had no
prior contact other than sending the summons and complaint See Exhibit A attached
hereto.

8. Plaintif`F s counsel filed the Application for Entry of Default Judgrnent against
Professional Educational Serviees Group, LLC on April 30, 2018. See ECF No. 17.

9. On May 1, 2018, the Court then entered its Order Denying Entry of Default

ludgment and Setting Aside Default, Wherein it indicated that it correctly deemed

 

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Plaintiff’s service upon Defendant, Professional Educational Services Group, LLC, as
defective, on May 10, 2018. Sec ECF Docket No. 18.

10. Plaintiff s counsel, having presumed valid service had deleted the docketing
deadlines for service on his calendar and inadvertently miscalculated the expiration of the
summons upon receipt of` the Court’s order, presuming the summons had already expired
and Was determined to prepare a motion to extend along With a first amended complaint
before closing his private practice on June 30, 2018, and transitioning over 600 files,
including this matter to new counsel Which remains in pro cess.

11. Upon receipt of the Court’s Notice of Impending Disrnissal, Plaintiff’ s counsel
discovered that his calculations as to the expiration of` the summons Was not accurate and
that the summons had expired on May 21, 2018.

12. On June 12, 2018, Plaintiff”s Court Of`ficer obtained late service of the summons
and complaint on the Human Resources Director for PESG, Who advised that she Was
authorized to accept service of process and that the current Resident Agent for PESG has
not been with PESG for some time since her employment ended and they could not
release her address or whereabouts See ECF No. 25 and Exhibit B attached hereto.

13. Plaintiff`J s counsel served copies of the default and application for entry of default
judgment upon PESG at its current address via ordinary mail

14. Plaintiff"s counsel spoke directly With the Hurnan Resource Direetor of PESG,
Fredericka Hayes, on June 14, 2018, Who acknowledged that the Resident Agent

identified With the State of l\/[ichigan, Kristi Fielstra, left PESG in June of 2017.

 

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15 . Plaintiffs counsel maintains that there has been a demonstration of good cause
for allowing an extension of the summons pursuant to FRCP 4(m) as Plaintiff’s counsel,
although erring with respect to valid service he was diligent in moving the case forward.

16. Further, Plaintiff’s counsel maintains that under the circumstances there is
sufficient showing for excusable neglect with regard to the expiration of the summons
under FRCP 6(b)(1)(B), as counsel while having erred, was not dilatory in attempting to
move the case forward in an expedient manner, Plaintiff’ s claim against PESG will be
barred if dismissed at this point as Plaintiff was an eighteen year old who was
emotionally uncertain about pursuing this litigation until making up his mind just prior to
his nineteenth birthday when the statute ran, PESG does not have its resident agent
available to accept service onsite and it is apparent that PESG had in fact received the
summons and complaint that was defectively served and that no prejudice would
otherwise come upon PESG by a modest extension of the time to serve the summons and
complaint and PlaintifF s First Arnended Complaint

17. Plaintiff now requests that the court allow Plaintiff to file it First Arnended
Complaint which properly identifies Defendant, Prof`essional Educational Services
Group, LLC, and allow an additional 28 days for service against said Defendant. See
Exhibit C attached hereto.

Wherefore, Plaintiff requests the Court enter an order extending the time to properly
serve the summons on Professional Educational Services Group, LLC, so as to cure its
defective service, within 28 days from the date of the Order and grant the Motion to

Amend Plaintiff’ s Complaint in the form attached hereto.

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l verify that the facts set forth herein are accurate and truthful to the best of my
knowledge and if called as a witness I can competently testify to the facts as set forth

herein. Further the attached Exhibits are copies of the originals in Plaintist possession

Respectfully submitted,

BUSH LA,WV OFFI'CE'S"', Pi,l;@>

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Dated: June 14, 2018 '
pupil s. Bush (P55823)
//"Attorney for Plaintiff
318 Houston Avenue, Ste. 105
Muskegon, Michigan 49441
(231) 760-4490

`_ .
Subscribed and sworn to before me this \L'i'i/"day of § 50 (\§5: , 2018.

§`:QM\(Y\ § ,f &¢Q§&
S annon R. Chester, Notary Public

Muskegon County, Mic `gan
My Comm. Expires: QO:>\
Acting in the County of Muskegon

 

